Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 1 of 15


                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

    In re:                                     :
                                                 Docket #18cv6626
     ACTAVA TV, INC., et al.,                  : 1:18-cv-06626-ALC-KNF

                            Plaintiffs,        :

       - against -                             :

     JOINT STOCK COMPANY “CHANNEL ONE          :
     RUSSIA WORLDWIDE,”                          New York, New York
                        Defendants.            : November 6, 2019

    ------------------------------------ : TELEPHONE CONFERENCE

                           PROCEEDINGS BEFORE
                      THE HONORABLE KEVIN N. FOX,
             UNITED STATES DISTRICT COURT MAGISTRATE JUDGE



    APPEARANCES:

    For Plaintiffs:        MOSES & SINGER, LLP
                           BY: TOBY BUTTERFIELD, ESQ.
                                MICHAEL ROSENBERG, ESQ.
                           505 Lexington Avenue
                           New York, New York 10174

    For Defendants:        DUNNINGTON BARTHOLOW & MILLER, LLP
                           BY: HARDIN ROWLEY, ESQ.
                                AKBAR KHAN, ESQ.
                           250 Park Avenue, Suite 1103
                           New York, New York 10177




    Transcription Service: Carole Ludwig, Transcription Services
                           141 East Third Street #3E
                           New York, New York 10009
                           Phone: (212) 420-0771
                           Email: Transcription420@aol.com

    Proceedings recorded by electronic sound recording;
    Transcript produced by transcription service.
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 2 of 15



                                     INDEX


                          E X A M I N A T I O N S

                                               Re-      Re-
    Witness               Direct    Cross    Direct    Cross    Court

    None

                               E X H I B I T S

    Exhibit                                                           Voir
    Number     Description                              ID     In     Dire

    None

1
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 3 of 15
 1                                                                3

2              THE CLERK:     Actava TV, Inc., et al, versus Joint

3    Stock Company “Channel One Russia Worldwide,” et al., case

4    number 18cv6626.     Counsel, will you state your appearance

5    for the record, please.

6              MR. TOBY BUTTERFIELD:       Good morning, Your Honor,

7    this is Toby Butterfield of Moses & Singer for

8    plaintiffs.      With me is my colleague, Michael

9    Rosenberg, and our client, Mikh ail Lezhnev, general

10   counsel of plaintiff, Master Call Corporation.

11             MR. HARDIN ROWLEY:      Good morning, Your Honor,

12   this is Hardin Rowley from Dunnington, Bartholow & Miller

13   for defendants, and I’m here with Akbar Khan.

14             THE COURT:     Good morning, this is Judge Fox.        We

15   are this morning to address the plaintiff’s motion to

16   compel, which is docket entry number 90 made pursuant to

17   Rule 37 of the Federal Rules of Civil Procedure.           The

18   plaintiffs also request that the defendants produce a

19   privilege log.     I am aware that there is a controversy over

20   whether the certification, the meet and confer certification

21   obligation has been satisfied.       I have determine to address

22   the merits of the motion, notwithstanding that controversy,

23   because Rule 1 of the Federal Rules of Civil Procedure urges

24   that the rules be construed so that there is a just, speedy,

25   economical and efficient litigation. And I think that
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 4 of 15
 1                                                                4

2    getting to the merits of the motion will advance the parties

3    so that they can be ready for trial if a trial is necessary,

4    or motion practice, whatever needs to be done.

5              The plaintiff’s motion is limited to defendant’s

6    objections to document requests 4, 9, 11, 12, 13, 15, 16,

7    17, 18, 19 and 20 of     the plaintiff’s first request for

8    production of documents.       The defendants have recited

9    repeatedly a n umber of objections, either in whole or

10   in part to various of the requested documents. The

11   objections are, one, the request is premature as the

12   broadcasters will file a Rule 54.2            bond motion, and

13   Rule 54.2 is a reference to the local civil rules of

14   this Court, a bond motion for security. T wo, to the

15   extent the request calls for a disclosure of

16   information subject to attorney/client privilege.

17   Three, the request does not describe each item to be

18   produced with reasonable particularity.              Four, the

19   request is not proportional to the needs of the case

20   because it requires production of all documents.

21   Five, the request is not proportional to the needs of

22   the case because the expense outweighs likely benefit.

23   Six, the request is not proportional to the needs of

24   the case because the proposed discovery is not

25   important to resolve issues.          Seven, the requested
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 5 of 15
 1                                                                5

2    documents contain proprietary and sensitive business

3    information.     Eight, the request is unduly burdensome

4    and overly broad.       Nine, to the extent the request

5    calls for the disclosure of documents that are

6    protected by privacy and data protection laws of the

7    Russian Federation, and the defendants have cited

8    particular provisions of the Russian constitution or

9    articles of the constitution of the Russian Federatio n

10   that they believe are pertinent.

11             I have reviewed the parties’ motion papers in

12   support of and in opposition to the motion.               Rule 26

13   of the Federal Rules of Civil Procedure explains that

14   absent a limit imposed by a Court Order, “parties may

15   obtain discovery regarding any non-privileged matter

16   that is relevant to any party’s claim or defense and

17   proportional to the needs of the case.”

18             Fed. R. Civ. P. 26(B)(1), “when a party

19   withhold information otherwise discoverable by

20   claiming that the information is p rivileged or subject

21   to protection as trial preparation material, the party

22   must, one, expressly make the claim, and two, describe

23   the nature of the documents, communications or

24   tangible things not produced or disclosed, and do so

25   in a manner that without revealing information, itself
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 6 of 15
 1                                                                6

2    privileged or protected, will enable other parties to

3    assess the claim.”

4              Fed. R. Civ. P. 26(B)(5)(a), “when a document

5    is withheld from disclosure based upon an assertion of

6    privilege, including the work product doctrine.” L ocal

7    Civil Rule 26.2(B) of this Court, referencing Local

8    Civil Rule 26.2(A) requires that, “the following

9    information shall be provided in the objection…1) the

10   type of document, e.g. letter or memorandum, 2) the

11   general subject matter of the document, 3) t he date of

12   the document, and 4) the author of the document, the

13   addressees of the document, and another recipients,

14   and where not apparent, the relationship of the

15   author, addressees and recipients to each other.”

16             Local Civil Rule 26.2(A)(2)(a), “boiler p late

17   objections that include unsubstantiated claims of

18   undue burden, overbreadth and lack of relevancy,”

19   while producing “no documents and answering no

20   interrogatories are a paradigm discovery abuse.”

21   Jacoby v. Hartford Life and Accident Insurance

22   Company, 254 F.R.D. 477 at 478 (S.D.N.Y. 2009).

23   Applying the Federal Rules of Civil Procedure, I just

24   identify and the case law to which I just made

25   citation to the instant motion, I conclude that the
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 7 of 15
 1                                                                7

2    defendant’s objections are overruled with respect to

3    plaintiff’s document requests 4, 11, 12, 13, 15, 16,

4    17, 18 and 20.

5              For the most part, the defendant’s objections

6    are unsubstantiated boilerplate objections as

7    described in Jacoby, which improperly prevented the

8    plaintiffs from obtaining relevant information not

9    shielded by any privilege. The defendants claim that a

10   bond would be posted and none has been, but in the

11   circumstance of this case, posting a bond pursuant to

12   Local Civil Rule 54.2 is no grounds for withholding

13   relevant documents.       Neither is the defendan t’s claim

14   that Russian law prevents it from disclosing

15   documents, defendants have not made citation to any

16   binding authority that establishes that the cited

17   Russian constitutional provisions and law trump the

18   Federal Rules of Civil Procured disclosure

19   requirements.

20             With respect to the defendant’s objections to

21   defendant’s document requests numbers 9 and 19, I

22   sustain the objections.         With respect to request

23   number 9, the request is overly broad because the

24   request is not limited to licenses, authorizations and

25   agreements regarding the subject matter of the action.
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 8 of 15
 1                                                                8

2    And request number 19 is vague as it does not make

3    clear what a “service which includes any channel”

4    means.   The defendants must disclose information

5    responsive to the requests 4, 11, 12, 13, 15, 16, 17,

6    18 and 20, and, where appropriate, serve a privilege

7    log for anything withheld from disclosure based on a

8    claimed and identified privilege.

9              For material that is alleged to be

10   confidential, research, development or commercial

11   information that must be shielded from public

12   disclosure, the parties should prepare a proposed

13   protective order as contemplated by Rule 26(C) of the

14   Federal Rules of Civil Procedure and submit it to me

15   for review and approval.

16             Rule 37(5)(C) of the Federal Rules of Civil

17   Procedure provides that where a Rule 37 motion is

18   granted in part and denied in part, as is the case

19   here, the Court may apportion the reasonable expenses

20   for the motion.      So the plaintiff shall file on or

21   before November 21, 2019, evidence via affidavit or

22   otherwise, of the reasonable expenses they incurred on

23   the motion to compel.        Within seven days the

24   defendants may file any challenge to the

25   reasonableness of the expenses sought by the
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 9 of 15
 1                                                                9

2    plaintiffs and the plaintiffs may reply to any

3    challenge by the defendan ts of the reasonableness of

4    the claimed expenses within three days of being served

5    with the defendant’s challenge. Disclosures by the

6    defendants are to be made in accordance with the instant

7    determination, on or before the 21st day of November, 2019.

8    This resolves the motion appearing at docket entry number

9    90.

10             I issued recently a case management plan for you,

11   that, of course, stays in place and we move forward from

12   today.   Thank you very much, good day.

13             MR. BUTTERFIELD:      Your Honor, may I be heard

14   for a moment?

15             THE COURT:      On what matter?

16             MR. BUTTERFIELD:        You made reference to the

17   need for a protective order, but I believe we have

18   dealt with that already and that there is a protective

19   order in place in this case.

20             THE COURT:      I didn’t spot it on the doc ket

21   sheet, that’s why I made reference to it.               Well that’s

22   fine, then there’s no need for that. I was responding

23   to the motion papers where there are references to or

24   challenges, objections because certain materials are

25   proprietary and so forth. So that’s fine.
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 10 of 15
 1                                                                10

 2              MR. BUTTERFIELD:        We’ll check the docket as

 3   well, Your Honor, and if I’m incorrect in my

 4   recollection and we need to do anything further we

 5   will take action and notify you.

 6              THE COURT:      Very well.

 7              MR. BUTTERFIELD:        I believe we resolved some

 8   of the issues concerning the wording of the protective

 9   order.

10              THE COURT:      Very well.

11              MR. BUTTERFIELD:        There is one other thing,

12   Your Honor , you made a reference to document request

13   number 9, which we’d moved to compel a response to,

14   and you indicated that yo u were not granting our

15   motion to compel that, a response to that request,

16   because it referred to third parties.

17              THE COURT:      No, that’s not what I said.

18              MR. BUTTERFIELD:        Oh, I misunderstood.

19              THE COURT:      I said it was overly broad because

20   it didn’t limit, the request isn’t limited to licenses

21   and authorization and agreements that are solely

22   focused on the subject matter of this action. It

23   seemed to me to be all licenses that might exist or

24   authorizations, not only those that pertain to the I

25   guess accessin g the materials that are provided to the
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 11 of 15
 1                                                                11

 2   television watchers who are interested in the types of

 3   materials that the defendant’s broadcast.

 4              MR. BUTTERFIELD:        I see, Your Honor . I think

 5   that the document request number 9 is relevant, the

 6   documents sought by t hat request are relevant to this

 7   dispute because what we were seeking by document

 8   request number 9 were agreements or authorizations

 9   between any channel and Kartina, who is also a

10   defendant.

11              THE COURT:      I didn’t say they weren’t

12   relevant.

13              MR. BUTTERFIELD:        Okay.

14              THE COURT:      I said the request was overly

15   broad.

16              MR. BUTTERFIELD:        But what I was going to say,

17   Your Honor , is that I think that they’re not overbroad

18   because it’s the Kartina service that provides the

19   channels which was the service that Actava wa s

20   competing with.

21              THE COURT:      If there is a license between

22   Channel and Kartina, that has nothing to do with the

23   materials that are broadcast that your client had,

24   according to the pleadings had arranged with another

25   entity to set up a box so that broadc asts could be
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 12 of 15
 1                                                                12

 2   made and so forth. If there is a license between

 3   Channel and Kartina, that has nothing to do with that,

 4   it’s some other business that or enterprise that the

 5   two are engaged in, why would that be relevant to this

 6   action?    If the request was fo r only licenses that

 7   pertain to the subject matter of this action, I’d have

 8   no problem with it. But as crafted, it could

 9   potentially reach licenses between the two entities

10   that have nothing to do with the broadcasting of

11   programming.

12              MR. BUTTERFIELD:        I see your point, Your

13   Honor, I guess I think that the objection was part of

14   the boilerplate and there is no reason to believe that

15   there are any agreements or licenses between those

16   parties concerning anything other than the streaming

17   of the content on the Channel television.

18              THE COURT:      Well that may be because you know

19   more about this case than I do. I’m not living with it

20   day in/day out. I don’t know all of the businesses in

21   which the broadcast defendants are engaged or that

22   Kartina is engaged in.         You m ay because, as I say,

23   you’re living with the case day in/day out, you have

24   much more information than I. But reading number 9, as

25   I did, it asked for any license, so if Channel and
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 13 of 15
 1                                                                13

 2   Kartina have a license to distribute purses designed

 3   by some famous purse d esigner, number 9 would capture

 4   that.

 5              MR. BUTTERFIELD:        I understand, Your Honor ,

 6   and I take that point, and we’re not looking for

 7   licenses of purses, we’re just, I wonder whether it is

 8   possible for us to get an order from Your Honor that

 9   licenses, authorizations or agreements concerning the

10   streaming television channels that exist between any

11   channel and Kartina should be disclosed.

12              THE COURT:      Well if you made such a discovery

13   demand upon the defendants, that’s a different thing.

14   But number 9 is not narro wly tailored as you just

15   announced. If it had been, I think it would have

16   passed muster, but it’s not written that way.                So

17   you’re free, as is the case with any party to

18   litigation, to make discovery demands that you think

19   are relevant and appropriate and then your adversary

20   responds to them.

21              MR. BUTTERFIELD:        Very well, Your Honor, I

22   merely raised it to try and clarify the issues. I

23   appreciate your explanation, I take your point and

24   we’ve just recently responded to the counterclaims

25   that the defendants ha ve interposed so we’re expecting
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 14 of 15
 1                                                                14

 2   to serve additional discovery requests directed to

 3   them.   I’m just concerned about the timing so I

 4   thought it was worth asking Your Honor whether I could

 5   get a clarification of your ruling concerning request

 6   number 9.     We’ll do as Your Honor directs and thank

 7   you, Your Honor for your time today.

 8              THE COURT:      Very well, good day.

 9              MR. BUTTERFIELD:        Thank you.

10              (Whereupon the matter is adjourned.)

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 1:18-cv-06626-ALC-KNF Document 129 Filed 11/12/19 Page 15 of 15
 1                                                                15

 2

 3                          C E R T I F I C A T E

 4

 5              I, Carole Ludwig, certify that the foregoing

 6   transcript of proceedings in the United States District

 7   Court, Southern District of New York, Actava TV, Inc., et

 8   al. versus Joint Stock Company “Channel One Russia

 9   Worldwide,” et al., Docket #18cv6626, was prepared using PC-

10   based transcription software and is a true and accurate

11   record of the proceedings.

12

13

14   Signature_______________________________

15                      Carole Ludwig

16   Date:   November 8, 2019

17

18

19

20

21

22

23

24

25
